     Case 3:08-cr-02288-BTM         Document 472          Filed 07/08/10   PageID.1436       Page 1 of 3



 1
 2
 3
 4
 5
 6
 7
 8
 9
                                         UNITED STATES DISTRICT COURT
10
                                    SOUTHERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA,                       )     Civil No.08cr2288 BTM (AJB)
                                                      )
13                          Plaintiff,                )     ORDER SETTING HEARING ON
      v.                                              )     APPLICATION FOR EXCESS FEES
14                                                    )
      HARLAN EDISON,                                  )
15                                                    )
                            Defendants.               )
16                                                    )
17            This matter was referred by Judge Moskowitz to Judge Battaglia for purposes of addressing the
18    question of the overall reasonableness of the three vouchers submitted in this case for services provided
19    on behalf of Harlan Edison. Judge Moskowitz has ordered that Judge Battaglia prepare a Report and
20    Recommendation following a hearing to determine and to recommend an appropriate fee in this case
21    consistent with 18 U.S.C. § 3006A(d)(2). A hearing is set for July 29, 2010 at 10:30 a.m. in this regard.
22    For the hearing, attorney Jack Boltax is ordered to submit, by July 28, 2010, the following information
23    for the Court’s review:
24            1.     A separate itemization of the time involved in the multiple OSC proceedings with regard
25    to the revocation of defendant’s pretrial release. These must be broken down by the following catego-
26    ries:
27                   a.     In court;
28                   b.     Interviews and conferences;


                                                            1                                            08cr2288
     Case 3:08-cr-02288-BTM            Document 472        Filed 07/08/10     PageID.1437        Page 2 of 3



 1                     c.       Obtaining and reviewing records;
 2                     d.       Legal research and brief writing;
 3                     e.       Investigative work; and
 4                     f.       Other work.
 5           2.        Copies of the scientific articles researched in connection with the bail revocation issues,
 6    or a bibliography of same, whichever is most easy to produce along with copies of any notes, memos or
 7    summaries regarding this work;
 8           3.        Legal research notes or summaries on cases reviewed, including citations, regarding the
 9    bail revocation issues;
10           4.        Legal research notes or summaries on cases reviewed, including citations, regarding legal
11    issues associated with the case in chief;
12           5.        Notes, summaries and memos with regard to the experts consulted with regard to the bail
13    hearings, along with the conference notes for discussions with the Government’s expert on the sweat
14    patch and the Las Vegas Federal Defender’s Office, Mike Severance with the U.S. Probation Office in
15    Las Vegas;
16           6.        Research notes, memos and summaries of the materials reviewed with regard to the use
17    of a medical Marijuana card, including copies of the materials reviewed, or a bibliography of same,
18    whichever is most easy to produce;
19           7.        Copies of any medical records of the defendant reviewed, notes, memos or summaries
20    created in that regard;
21           8.        Conference notes with regard to contact with the care givers, transport coordinators and
22    kidney dialysis providers;
23           9.        A copy of the research associated with, and the audit report regarding, the Bureau of
24    Prisons concerning the adequacy of medical care, including all notes, memos and summaries thereof;
25           10.       Documents, notes and orders associated with the case budgeting process;
26           11.       Research notes, summaries, or indexing prepared and/or reviewed by Mr. Boltax with
27    regard to the 21,000 pages of written discovery and hundreds of recorded wire tapped telephone
28    conversations;


                                                             2                                               08cr2288
     Case 3:08-cr-02288-BTM                       Document 472                  Filed 07/08/10      PageID.1438    Page 3 of 3



 1               12.        Copies of all case budgeting documents, submissions, orders and notes of calculations;
 2               13.        All billing records used to record, reflect, track or document time spent on the case or
 3    otherwise used to prepare the three CJA vouchers submitted in this case.
 4               This material is to be lodged in Judge Battaglia’s chambers and not filed with the Court. It will
 5    be reviewed en camera, discussed at the time of the hearing, and returned to Mr. Boltax following the
 6    completion of the review.
 7               IT IS SO ORDERED.
 8
 9    DATED: July 8, 2010
10
                                                                                    Hon. Anthony J. Battaglia
11                                                                                  U.S. Magistrate Judge
                                                                                    United States District Court
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                                                   3
      K:\COMMON\BATTAGLI\CASES\2 Orders to be filed\order re hearing on excess fees.wpd                                      08cr2288
